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UNITED STATES DICSTRICT COURT
for the
MIDDLE DISTRICT OF PENNSYLVANNIA

COMMONWEALTH OF
PENNSYLVANIA,
PENNSYLVANIA GAME. -
COMMISSION
Plaintiff,
Vs. : Civil Action No.:
1:12-CV-01567
Thomas E. Proctor Heirs Trust under:
Declaration of Trust dated
October 28, 1980, which is recorded
in Sullivan County in Book 1106,
at page 879, its successors and assigns;:
and the MARGARET PROCTOR =:
TRUST; :
Defendants :

To: Margaret Proctor Trust:

NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

A lawsuit has been filed against you, or the entity you represent, in this court under the
number shown above. A copy of the complaint is attached.

This is not a summons, or an official notice from the court. It is a request that, to avoid
expenses, you waive formal services of a summons by signing and returning the enclosed waiver.
To avoid these expenses, you must return the signed waiver within 20 days from the date shown
below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along
with a stamped, self-addressed envelope or other prepaid means for returning one copy, You

may keep the other copy.

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If you retum the signed waiver, I will file it with the court, The action will then proceed
as if you had been served on the date waiver is filed, but no summons will be served on you and
you will have 60 days from the this notice is sent (see the date below) to answer the complaint
(or 90 days if this notice is sent to you outside and judicial district of the United States.)

If you do not return the signed waiver within the time indicated, I will arrange to have the
summons and complaint served on you. And I will ask the court to require you, or the entity you
represent, to pay the expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses,

I certify that this request is being sent to you on December 1, 2014.

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UNITED STATES DICSTRICT COURT
for the
MIDDLE DISTRICT OF PENNSYLVANNIA

COMMONWEALTH OF PENNSYLVANIA, ©:
PENNSYLVANIA GAME COMMISSION
Plaintiff,
¥S, Civil Action No.
1:12-CV-01567

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Thomas E, Proctor Heirs Trust under Declaration
of Trust dated October 28, 1980, which is recorded :
in Sullivan County in Book 1106, at page 879, its
successors and assigns; and the Margaret Proctor
Trust :
Defendants, :

To: Margaret Proctor Trust, Defendant.
WAIVER OF THE SERVICE OF SUMMONS

Thave received your request to waive service of a summons in this action along with a
copy of the complaint, two copies of this wavier form, and a prepaid means of returning one
signed copy of the form to you,

I, or the entity L represent, agree to save the expense of a serving a summons and
complaint in this case.

T understand that I, or the entity I represent, will keep all defenses or objections to the
lawsuit, the court’s jurisdiction, and the venue of the action, but that I waive any objections to
the absence of a summons ot of service.

T also understand that I, or the entity 1 represent, must file an serve an answer or a motion
under Rule 12 with 60 days from » the date when this request was sent (or 90 days if it
was sent outside the United States), If I fail to do so, a default judgment will entered against me
or the entity I represent,

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Duty to Avoid Ummecessary Expenses of Serving a Summons
Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in
saving unnecessary expenses of serving a summons and complaint. A defendant who is located
in the United States and who fails to return a signed waiver of service requested by a plaintiff
‘located in the United States will be required fo pay the expenses of service, unless the defendant

show good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundiess, or that it has been
brought in an improper venue, or that the court has no jurisdiction over this matter or over the

defendant or defendant’s property,

If the waiver is signed and returned, you can still make these and all other defenses and

objections, but you cannot object to the absence of'a summons or of service,

If you waive service, then you must, within the time specified on the waiver form, serve
an answer or a motion under Rule 12 on the plaintiff and file a copy with the court, By signing
and returning the waiver form, you are allowed more time to respond than ifa summons had

been served,

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UNITED STATES DICSTRICT COURT
for the
MIDDLE DISTRICT OF PENNSYLVANNIA

COMMONWEALTH OF PENNSYLVANIA,
PENNSYLVANIA GAME COMMISSION
Plaintiff, :
VS. : Civil Action No.
; 1;12-CV-01567

Thomas E. Proctor Heirs Trust under Declaration

of Trust dated October 28, 1980, which is recorded +
in Sullivan County int Book 1106, at page 879, its
successors and assigns; and the Margaret Proctor
Trust :
Defendants, t

To:  Matgaret Proctor Trust, Defendant,
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copy of the complaint, two copies of this wavier form, and a prepaid means of returning one
signed copy of the form fo you.

I, or the entity T represent, agree to save the expense of a serving @ summons and
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lawsuit, the court’s jurisdiction, and the venue of the action, but that I waive any objections to
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under Rule 12 with 60 days from , the date when this request was sent (or 90 days if it

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or the entity T represent,

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Duty to Avoid Unnecessary Expenses of Serving a Summons
Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in
saving unnecessary expenses of serving a summons and complaint. A defendant who is located
in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be requited to pay the expenses of service, unless the defendant

show good cause for the failure,

“Good cause” does nof include a belief that the lawsuit is groundless, or that it has been
brought in an improper venue, or that the court has no jurisdiction over this matter or over the

defendant or defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and

objections, but you cannot object to the absence of a summons or of service,

Tf you waive service, then you must, within the time specified on the waiver form, serve
an answer or a motion under Rule 12 on the plaintiff and file a copy with the court, By signing
and returning the waiver form, you are allowed more time fo respond than if'a summons had

been served,

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UNITED STATES DISTRICT COURT
for the
MIDDLE DISTRICT OF PENNSYLVANNIA

COMMONWEALTH OF
PENNSYLVANIA,
PENNSYLVANIA GAME
COMMISSION
Plaintiff, :
VS. : Civil Action No.:
1:12-CV-01567
Thomas E, Proctor Heirs Trust under :
Declaration of Trust dated
October 28, 1980, which is recorded
in Sullivan County in Book 1106,
at page 879, its successors and assigns::
and the MARGARET PROCTOR
TRUST; :
Defendants :

SECOND AMENDED COMPLAINT

NOW, this _/s7” day of | a, wales , 2014, comes the Plaintiff,

Commonwealth of Pennsylvania, Pennsylvania Game Commission, by and

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through its counsel, and makes this Second Amended Complaint for Action
to Quiet Title against the above Defendant and makes the following
allegations in support thereof:
THE PARTIES

1, Plaintiff is the Commonwealth of Pennsylvania, Pennsylvania
Gaine Commission, (hereinafter, PGC) an independent Commonwealth
adininistrative agency with its principal offices located at 2001 Elmerton
Avenue, Harrisburg, PA 17110.

2, Defendants, its successors, assigns, are:

a, Thomas E, Proctor Heirs Trust, a Massachusetts Trust, and

unknown persons claiming any right, lien, title or interest by, through

or under them, or any of them, are natural persons, not known to be

living or dead, and whose whereabouts are unknown to the Plaintiff,

b. Margaret Proctor Trust, a trust which, upon information and

belief, is a trust held in benefit for the heirs of Thomas E, Proctor and

Emma H. Proctor, which maintains a mailing address of c/o McGuire

Woods, EQT Plaza, 625 Liberty Avenue, 23" Floor, Pittsburgh, PA

{$222.3142,

The Defendants are named in this litigation due to the fact that the

trusts believe and/or have asserted that they have an interest in the real

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property interests which are the subject of this action.
JURISDICTION
3. The plaintiff is an independent state commission of the
Commonwealth of Pennsylvania existing under the laws of the
Commonwealth of Pennsylvania with its principal place of business at 2001
Elmerton Avenue, Harrisburg, PA 17110, One of the Defendants is a
Massachusetts trust, of which none of the beneficiaries are citizens of
Pennsylvania. The amount in controversy, without interest and costs,
exceeds $75,000,00, being the sum or value specified by 28 U.S.C, §1332,
APPLICABLE LAW
4, This is a complaint involving title to real property located in
Davidson and Laporte Townships, Sullivan County, Pennsylvania, $0 the
applicable substantive law is the real property law of the Commonwealth of
Pennsylvania,
THE PREMISES
). The property which is the subject of this dispute (the
“Premises”) is approximately 2,481 acres, more or less in Davidson and
Laporte Townships, Sullivan County, Pennsylvania.
6, The Premises are comprised of six warrants in the Warrantee

names of Robert Irwin, Francis Nichols, John Brady, Thomas Hamilton,

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Charles Irwin and William Meylert (No. 2),

7. The Commonwealth of Pennsylvania acquited its ownership
interest to the Premises under and by virtue of a certain deed by and between
the Central Pennsylvania Lumber Company and the PGC, dated December
31, 1924 and recorded on June 6, 1925 in Sullivan County Deed Book 42, at
page 538 which did except, however,

“from the operation of th{e] covenant of warranty, all

liability of the Central Pennsylvania Lumber Company as to

any existing or outstanding mineral reservations,”

A true and correct copy of this deed, including a description of the
property at issue in this case, is incorporated herein by reference as if fully
set forth and marked Exhibit A.

8, The PGC designates the Premises as part of contract number L~
44, and itis part of State Game Lands No, 13,

THE TITLES

9. Abstracts of titles of the Premises from the Land Office and
into the Plaintiff and showing Defendant’s exception and reservation is
attached hereto, incorporated herein by reference as if fully set forth and
marked Exhibit B.

10. The PGC claims its interest in, inter alia, the coal, oil, gas or

petroleuin, and minerals, as well as the surface and surface support rights in

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and to the Premises by virtue of the deed recited in Paragraph 7 hereof.
Il. The titles to the aforementioned L-44 contain the following
conveyances:
a. A certain deed by and between Thomas E. Proctor and
Emina H. Proctor, his wife, to Union Tanning Company, dated October 30,
1894 and recorded January 23, 1895 in Sullivan County Deed Book 24, at
page 53, in which Thomas E. and Emma H. Proctor did,
“reser've and save to himself, his heirs and assigns all the _
minerals, coal, oil, gas or petroleum found in or under the

surface of the land described in cach of the above mentioned
divisions,”

A true and correct copy of this document is incorporated herein
by reference as if fully set forth and marked Exhibit C,

b. A quitclaim deed from O. B. Grant and Sarah M. Grant,
his wife, dated September 17, 1897 and recorded June 13, 1898 in Sullivan
County Deed Book 24, at page 790, to Emma H, Proctor, widow, James H.
Proctor, Anne P. Rice, Emily W. Proctor, ‘Thomas E. Proctor, heirs at law of
Thomas E, Proctor, deceased, quitclaiming, infer alia,

“all the right, title, interest and estate acquired by the parties of

the first part hereto under and by virtue of forty-two several

treasurer’s Deeds from A. L. Smith, Treasurer of Sullivan

County, Pennsylvania to O. B. Grant, dated September 21,

1896, of, in and to the minerals, coal, oil, gas or petroleum

found on or under the surface of the lands described in said
Treasurer’s deeds.”

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A true and correct copy of this document is incorporated herein
by reference as if fully set forth and marked Exhibit D.

12, After the reservation and conveyance to the Proctors mentioned
in Paragraph 11, the Premises were unseated land sold by Sullivan County
Treasurer, Frank H, Farrell to CH. McCauley, Ji. at Treasurer’s sale dated

June 8, 1908, as follows;

a, Charles Irwin Warrant Treasurer’s Sale Book 1, Page 260,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908;

b. William Meylert Warrant Treasurer’s Sale Book 1, Page 261,
acknowledged December 16, 1908, referenced in Minute Book 7, page 244,
‘Treasurer’s Deed dated December 1, 1908;

C, John Brady Warrant Treasurer’s Sale Book 1, Page 259,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908;

d. Thomas Hamilton Warrant Treasurer’s Sale Book 1, Page 260,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908;

€, Frances Nichols Warrant ‘Treasurer’s Sale Book 1, Page 261,

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acknowledged December 16, 1908, referenced in Minute Book 7, page 244,
Treasurer’s Deed dated December 1, 1908;

f Robert Irwin Warrant Treasurer’s Sale Book 1, Page 260,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908,

13. C.H. McCauley, Jr, and Florence M. McCauley, his wife, by
their deed dated December 6, 1910, and recorded in Sullivan County Deed
Book 36 at page 223, granted and conveyed the said Premises to Central
Pennsylvania Lumber Company.

14, According to Affidavit of Ann P. Hochberg, Esq., recorded on
December 9, 2009 to instrument number 20097573 in Bradford County,
Pennsylvania, Thomas E. Proctor , Sr. (named in Paragraph 11) died on or
about December 7, 1895, a resident of Boston Massachusetts. A true and
correct copy of this Affidavit is hereby incorporated herein by reference,
attached hereto and marked Exhibit E,

15. Thomas E, Proctor, Sr. was survived by his widow, Emma
Howe Proctor and four children: James Howe Proctor, Anne Steele Proctor
Rice, Emily Water Proctor Mandell and Thomas Emerson Proctor, Jr.

16. Aclose reading of the Affidavit, Exhibit E, sets out the chain of

title for the Proctor family and indicates that ultimately, a majority of the

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heirs of Thomas E. Proctor, St., conveyed their allegedly owned mineral
interests in Pennsylvania, which derived from Thomas E, Proctor, Sr. to the
Thomas E, Proctor Heirs Trust under Declaration of Trust dated October 28,
1980, which is recorded in Sullivan County in Book 1106, at page 879, A
true and correct copy of this Declaration of Trust is incorporated herein by

reference, attached hereto and marked, Exhibit F,

17, At the time of the sales for unpaid taxes referenced in
Paragraph 12, the Defendants did not have the oil, gas and mineral estates
separately assessed.

18. At the time of the sale for unpaid taxes, the real property was
unseated.

19, Pursuant to the principles espoused in Hutchinson V. Kline, 199
Pa, 564 (1901); FAL Rockwell & Co. v, Warren County, 228 Pa. 430
(1910); and Proctor v. Sagamore Big Game Club, 155 F.Supp. 465 (W.D.
Pa, 1958), a tax sale of the unseated land passed all title of the real estate
fairly chargeable with the taxes and not separately assessed,

20, Various Acts of the General Assembly have ratified prior tax

sales,

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21, The PGC acquired its interests in the Premises from or through
the purchasers at the tax sales,

22, The PGC acquired all interests in the Premises including, but
not limited to, those rights allegedly severed previously, by the conveyance
listed in Paragraph 7.

23. The existence of the documents set out in Paragraph 11 and 16
cause a cloud upon the title of the PGC.

24, The Defendants have made claims to ownership or have tried to

convey rights, specifically with regard to oil and gas.

WHEREFORE, the PGC respectfully requests this Honorable Court to
issue and order:

I, Pursuant to Pa.R.C\P, 1061(b)(3) against the Defendants to admit
the invalidity of any right, title or interest Defendant, or any of them claim in
the oil and gas estate in, on and under the Premises consisting of
approximately 2,481 acres, more of Jess in Davidson and Laporte
Townships, Sullivan County, Pennsylvania, most patticulariy admit the
invalidity of any interest, right or claim pursuant to the Thomas E. Proctor
Heirs Trust under Declaration of Trust dated October 28, 1980, which is

recorded in Sullivan County in Book 1106, at page 879; or in the

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alternative,

2. Pursuant to Pa.R.C.P, 1061(b)(4) to grant possession of the oil
and gas estate in, on and under the Premises consisting of approximately
2,481 acres, more or less in Davidson and Laporte Townships, Sullivan
County, Pennsylvania, which was sold at tax sales June 1, 1908, and for
which various deeds were dated December 1, 1908, as set forth in the
Amended Complaint, to the PGC; and

3, Such other relief as this Honorable Court may find just and
reasonable,

Respectfully submitted,

PENNSYLYANIA SSION
DATE: t2} fart. L. Spada ( Poh,

Bradley C. Beclifdl, Chief Counsel
LD. #49681

2001 Elmerton Avenue
Harrisburg, PA 17110-9797
FAX: (717)772-0502
(717)783-6530

brbechtel @pa.gov

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CERTIFICATE OF SERVICE

I, Bradley C. Bechtel, Esquire, Chief Counsel of the Pennsylvania
Game Commission, hereby certify I served a copy of the foregoing
AMENDED COMPLAINT in accordance with F.R.C.P. 5 upon Plaintiffs by
depositing same in the United States First Class Mail, on December 1, 2014,

addressed as follows:

The Waffenschmidt Law Firm, LLC
ATTN: Thomas Waffenschmidt, Esquire
Attorney for Defendant
8118, Market Street
South Williamsport, PA 17702

_ [abc By

Bradley C. Béehitel, Chief Counsel

1]

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- TABLE OF CONTENTS TO EXHIBITS

ExhibitA A deed from Contral Pennsylvania Lumber Company to the
PGC, dated December 31, 1924 and recorded on June 6, 1925
in Sullivan County Deed Book 42 at page 538, (3 Pages.)

ExhibitB Abstracts of titles of the Promises ftom the Land Office and
into the Plaintiff and showing Defendant’s exception and

' reservation, (3 Pages,)

ExhibitC A deed fiom Thomas E. Proctor and Emma H, Proctor, his

wife, to Union ‘Tanning Company, dated October 30, 1894 and
- recorded January 23, 1895 in Sullivan County Deed Book 24, at

page 53, (6 Pages.)

BxhibltD A quitelaim deed from O. B, Grant and Satah M. Grant, his
wife, dated September 17, 1897 and recorded June 13, 1898 in
Sullivan County Deed Book 24, at page 790, to Emma H,
Proctor, widow, Jaines H, Proctor, Anne P, Rice, Emily W,
Proctor, Thomas B, Proctor, heirs at law of Thomas E, Proctor,
deceased, (6 Pages.)

Fixhibit EB Affidavit of Ann P, Hochberg, Esq., recorded on December 9,
2009 to instrument number 20097573 in Bradford County,

Pennsylvania, (12 Pages.)

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Exhibit A Declaration of Trust dated October 28, 1980, recorded in

Sullivan County in Book 1106, at page 879, (11 Pages,)

